  Case 5:05-cr-00006-DCB-FKB      Document 150   Filed 10/28/11   Page 1 of 12



                 IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           WESTERN DIVISION


ANNETTE M. PIERCE                                                   PETITIONER

VS.                                      CIVIL ACTION NO. 5:09-cv-43(DCB)
                                          CRIMINAL NO. 5:05-cr-6-002(DCB)

UNITED STATES OF AMERICA                                            RESPONDENT


                       MEMORANDUM OPINION AND ORDER

      This cause is before the Court on the petitioner Annette M.

Pierce’s Motion for an Out of Time Appeal or Alternatively 2255

Motion to Vacate, Set Aside or Correct her Sentences and/or

Convictions (docket entries 131 and 132 in criminal no. 5:05-CR-6).

The petitioner has also filed supplemental material (docket entries

137   and   145   in   criminal    no.   5:05-CR-6).       Having    carefully

considered the motion and supplemental material, the government’s

response, the authorities cited and the applicable law, and being

fully advised in the premises, the Court finds as follows:

      The petitioner was tried before a jury on January 17-19, 2006,

and found guilty of kidnaping (19 U.S.C. § 1201(a)) and car-jacking

(18 U.S.C. § 2119).       She was sentenced on May 12, 2006, on each

count to a term of 110 months imprisonment to be followed by a

three year term of supervised release, the sentences to run

concurrently. The judgment was entered on May 25, 2006. No appeal

was taken.    On or about March 17, 2008, the undersigned received

the following letter from the petitioner (date stamped March 11,
  Case 5:05-cr-00006-DCB-FKB   Document 150   Filed 10/28/11     Page 2 of 12



2008, at the Federal Corrections facility in Tallahassee, Florida):

     Your Honor

          My name is Annette M. Pierce. I stood trial before
     you a while back for kidnapping/carjacking and at the
     time my attorney was John J. Frasier who is now a Federal
     Judge himself. You told him at the time the court would
     provide another lawyer for me from the Public Defender’s
     office and I’ve heard nothing from anyone since. I don’t
     know if its at all possible but if so I would like to
     file an out of time appeal, and I am also requesting
     counsel appointed.      I would be grateful for any
     assistance you may provide.

                                        Sincerely

                                        Annette Pierce

Letter (docket entry 126). On March 27, 2008, the Court entered an

Order granting the petitioner’s motion for appointment of counsel

and referring the appointment to the magistrate judge.                   Order

(docket entry 127). An Order dated March 28, 2008, filed March 31,

2008, reflects that attorney Julie Epps was contacted by the Public

Defender’s office on March 27, 2008, and “agreed to represent the

defendant henceforth as her counsel of record for appeal purposes.”

Order Appointing Counsel (docket entry 128). On December 29, 2008,

the petitioner’s attorney requested a transcript of the criminal

proceedings.    On March 25, 2009, the attorney filed the motion

presently pending before the Court.

     The   petitioner’s   motion   alleges    that   she    is   “unlawfully

confined because the judgment and sentence under attack were

imposed in violation of the Constitution and laws of the United

States,” and seeks an out of time appeal.                  As grounds, the

                                    2
  Case 5:05-cr-00006-DCB-FKB   Document 150   Filed 10/28/11   Page 3 of 12



petitioner states that she “timely requested that her court-

appointed attorney appeal her case, but he did not do so.”              2255

Motion, p. 2.

     When a section 2255 motion seeking an out of time appeal is

based on ineffective assistance of counsel for failure to perfect

an appeal, and the district court finds that the motion is well

taken, the proper procedure is for the court to vacate the criminal

judgment, resentence the petitioner on the original conviction,

advise the petitioner of her rights associated with an appeal, and

advise her of the time for filing a notice of appeal.          See Rosinski

v. United States, 459 F.2d 59 (6th Cir. 1972); United States v.

Phillips, 225 F.3d 1198, 1201 (11th Cir. 2000). When the petitioner

was sentenced, in 2006, former Rules 4(b)(1) and 26(a)(2) of the

Federal Rules of Appellate Procedure provided ten days after entry

of judgment to file an appeal, excluding intermediate Saturdays,

Sundays and legal holidays.       The rules were amended, effective

December 31, 2009, so that now Rule 4(b)(1) allows 14 days after

entry of judgment for filing an appeal.

     Since the petitioner did not appeal this Court’s judgment, her

conviction and sentence became final ten days after entry of

judgment, as calculated under the old rules.              Her conviction,

therefore, became final on June 8, 2006.          She filed the instant

motion on March 25, 2009, almost three years after her conviction

became final.   Section 2255(f) provides as follows:


                                    3
  Case 5:05-cr-00006-DCB-FKB   Document 150   Filed 10/28/11   Page 4 of 12



     A 1-year period of limitation shall apply to a motion
     under this section. The limitation period shall run from
     the latest of -

     (1) the date on which the judgment of conviction becomes
     final;

     (2) the date on which the impediment to making a motion
     created by governmental action in violation of the
     Constitution or laws of the United States is removed, if
     the movant was prevented from making a motion by such
     governmental action;

     (3) the date on which the right asserted was initially
     recognized by the Supreme Court, if that right has been
     newly recognized by the Supreme Court and made
     retroactively applicable to cases on collateral review;
     or

     (4) the date on which the facts supporting the claim or
     claims presented could have been discovered through the
     exercise of due diligence.

28 U.S.C. § 2255(f).

     The petitioner’s motion was filed more than one year after her

conviction became final, under section 2255(f)(1).             She does not

assert, under section 2255(f)(3), any right that has been newly

recognized by the Supreme Court and made retroactively applicable

to her case.     Instead, she contends that her motion was filed

within one year of discovering facts that could have not otherwise

been discovered through the exercise of due diligence under section

2255(f)(4).    In addition, she asserts that “the actions or rather

the inactions of the government contributed to her erroneous belief

that she would be represented by counsel, and her appeal would be

filed,” citing section 2255(f)(2).

     In her motion, the petitioner alleges the following regarding

                                    4
  Case 5:05-cr-00006-DCB-FKB   Document 150   Filed 10/28/11   Page 5 of 12



section 2255(f)(4):

          Ms. Pierce was sentenced on May 17, 2006 by the Hon.
     David C. Bramlette, III, District Court Judge, and the
     judgment was entered on May 25, 2006. Doc # 113. At the
     time of her sentencing, she was represented by her court-
     appointed attorney, John J. (Jim) Frasier, III. At the
     sentencing hearing, Mr. Frasier advised the court that he
     was leaving private practice and taking an administrative
     law position in Tupelo, Mississippi.     See, Exhibit A,
     Transcript of Sentencing Hearing, pp. 32-35. He requested
     that the Federal Public Defender’s office in the Southern
     District of Mississippi be appointed to advise Ms. Pierce
     of her appellate rights. Judge Bramlette advised Woody
     Bond, the AUSA who was handling the case, to inform the
     Public Defender’s office that Ms. Pierce needed counsel
     and advised Mr. Frasier to follow up on the appointment.
     Id.

          Somehow the Public Defender’s office did not receive
     notification that they were to be involved in Ms.
     Pierce’s case, so Ms. Pierce was not represented and no
     notice of appeal was filed.      See, Affidavit of Ann
     Hutzel, Paralegal at the Office of the Federal Public
     Defender, Exhibit B.

          On numerous occasions, Ms. Pierce has tried to find
     out from Mr. Frasier and/or the public defender’s office
     about the status of her appeal.       Unable to obtain
     information, she finally in March of 2008 filed a motion
     to have counsel appointed. (Doc# 126).      Counsel was
     appointed to represent her in filing this motion for out
     of time appeal on March 31, 2008. (Doc# 128).

Motion, pp. 2-3.      In support of her motion, the petitioner has

submitted an affidavit in which she states, in part:

     3. Within ten days of my sentencing, I asked Mr. Frasier
     to appeal my conviction and sentence.

     4. It was my understanding at the time of sentencing
     that the Federal Public Defender’s Office or some other
     attorney would be appointed by the court to represent me.

     5.   After no one contacted me, I began to write and
     telephone Mr. Frasier and the Public Defender’s Office,
     but nobody came to help me with my appeal.

                                    5
  Case 5:05-cr-00006-DCB-FKB   Document 150   Filed 10/28/11   Page 6 of 12



     6. I did not know what else to do so I wrote to the
     judge.

     7. I told Mr. Frasier I wanted to appeal, and but for
     his failure to contact the Public Defender’s Office or
     file a notice of appeal and/or the failure of the Public
     Defender’s Office to assist me, I would have done so.

     8. I did not know how to appeal myself, and both before
     and after my sentencing I was incarcerated.

(Affidavit of Petitioner, ¶¶ 3-8).            The petitioner has also

submitted an affidavit of Ann Hutzel, a paralegal with the Public

Defender’s Office who states, in part: “In 2008, when Ms. Pierce

filed a motion for appointed counsel, our office learned that Ms.

Pierce’s appeal had not been perfected.”       (Hutzel Affidavit, ¶ 3).

     On June 23, 2010, the petitioner supplemented her motion with

the following allegations of fact:

          On numerous occasions after her sentence and
     incarceration, both Ms. Pierce and her husband tried to
     reach her trial attorney to find out what was happening
     in her case.    In addition, she contacted the Federal
     Public Defender’s Office, but because they had not been
     notified about the need to represent her, they told her
     that they did not know who she was. See, Letter of Ms.
     Pierce attached as Exhibit A. Finally, with the help of
     one of her counselors where she was incarcerated, she
     filed a motion with the Court to have counsel appointed.
     (Doc. #126). Present counsel was appointed to represent
     her in filing this motion for out of time appeal on March
     31, 2008. (Doc. #128).

     .    .     .

          In the instant case, Ms. Pierce timely requested an
     appeal after she was sentenced on May 26, 2006. She was
     told by the Court and her attorney that the Federal
     Public Defender’s office would represent her and that
     counsel would file her notice of appeal. In short, she
     acted diligently.    She was entitled to rely on the
     representations of her attorney, the AUSA and the Court

                                    6
  Case 5:05-cr-00006-DCB-FKB   Document 150   Filed 10/28/11   Page 7 of 12



     that her appeal would be filed. Once she learned that
     her appeal was not filed, she moved the Court for
     assistance.

Supplementary Authority in Support of Motion, pp. 2, 4.

     With regard to section 2255(f)(2), the petitioner alleges:

          Although more than one year has passed since the
     judgment was entered in this case, Ms. Pierce is not time
     barred because the actions or rather the inactions of the
     government contributed to her erroneous belief that she
     would be represented by counsel, and her appeal would be
     filed. See, 28 U.S.C. 2255(f) [movant has one year from
     the time the impediment created by the government is
     removed]. She did not learn that her appeal had not been
     filed until after one year after her judgment of
     conviction was entered.

Motion, p. 5.

     The petitioner also relies on the recent case of Holland v.

Florida, ___ U.S. ___, 130 S.Ct. 2549 (2010), in which the Supreme

Court made clear that the AEDPA statute of limitations is not a

jurisdictional bar and may be equitably tolled in appropriate

cases.   To establish equitable tolling, the petitioner must show

“‘(1) that he has been pursuing his rights diligently, and (2) that

some extraordinary circumstance stood in his way’ and prevented

timely filing.” Id. at 2562, quoting Pace v. DiGuglielmo, 544 U.S.

408, 418 (2005).    The Fifth Circuit has held that “[c]ourts must

consider the individual facts and circumstances of each case in

determining whether equitable tolling is appropriate.”            Mathis v.

Thaler, 616 F.3d 461, 474 (5th Cir. 2010), quoting Alexander v.

Cockrell, 294 F.3d 626, 629 (5th Cir. 2002).           See Supplementary

Authority in Support of Motion, pp. 2-5; see also Petitioner’s

                                    7
  Case 5:05-cr-00006-DCB-FKB   Document 150   Filed 10/28/11   Page 8 of 12



Second Supplemental Motion, filed December 13, 2010, pp. 3-5.

     The petitioner’s motion and supplements therefore allege three

grounds for relief: Section 2255(f)(4); Section 2255(f)(2); and

Equitable Tolling.

     With regard to whether a section 2255 motion is timely under

§ 2255(f)(4) based on counsel’s failure to file a requested direct

appeal, the petitioner is required to file her motion within one

year of when she could have discovered, with the exercise of due

diligence, that the notice of appeal had not been filed.           See Aron

v. United States, 291 F.3d 708, 711 (11th Cir. 2002)(relevant

inquiry is when movant reasonably could have discovered in the

exercise of due diligence that no appeal had been filed).

     After receiving the jury’s verdict on January 19, 2006, the

Court advised the petitioner that she had the right to appeal the

verdict and the sentencing.     It was then noted that the petitioner

was indigent, and that she had the right to appellate counsel. The

Public Defender, Dennis Joiner, was present in the courtroom, and

he advised the Court, in the presence of the petitioner, that Mr.

Frasier had been appointed under the Criminal Justice Act program

“until he finishes the appeal and posts a Writ of Cert with the

United States Supreme Court.”      (Trial Transcript).

     At the sentencing, on Friday, May 12, 2006, Mr. Fasier advised

the Court, in the presence of the petitioner, that he was leaving

the practice of law to become a federal Administrative Law Judge in


                                    8
     Case 5:05-cr-00006-DCB-FKB     Document 150      Filed 10/28/11   Page 9 of 12



Tupelo, Mississippi, and that he would be assuming that position on

Monday,     May   15.        The   Assistant   U.S.     Attorney,      Woody   Bond,

volunteered to notify Dennis Joiner that a substitution of counsel

needed to be made by the Public Defender’s office for purposes of

filing an appeal.        The Court then advised Mr. Frasier that he was

released from his obligation to file an appeal on the petitioner’s

behalf, but requested that he contact the Public Defender’s office

to    confirm     that   a    substitution     of   counsel      would    be   made.

(Sentencing Transcript).

        It is well-established that the time period under § 2255(f)(4)

“commences when the factual predicate ‘could have been discovered

through the exercise of due diligence,’ not when it was actually

discovered by a given prisoner.”             Owens v. Boyd, 235 F.3d 356, 359

(7th Cir. 2000)(interpreting 28 U.S.C. § 2244(d)1)(D), the AEDPA

state prisoner equivalent of § 2255(f)(4)).

        In this case, the petitioner knew that her trial attorney

could no longer represent her.            She knew that substitute counsel

was to be appointed by the Court with the assistance of the Public

Defender’s office for purposes of assisting her with an appeal.

She also knew that no one from the Public Defender’s office had

contacted her regarding an appeal.             The petitioner’s § 2255 motion

was filed on March 25, 2009.             The Court finds that she knew or

should have known before March 25, 2008, that no appeal had been

filed on her behalf from the judgment of May 25, 2006.                   Even if the


                                         9
 Case 5:05-cr-00006-DCB-FKB   Document 150   Filed 10/28/11   Page 10 of 12



petitioner’s letter to the Court of March 11, 2008, could be

construed as a § 2255 motion, the Court would still find that

Pierce knew or should have known before March 11, 2007, that no

appeal had been filed on her behalf.     All of the facts proffered by

the petitioner could have been discovered by the exercise of due

diligence within a short time from the sentencing date.

     Nor does § 2255(f)(2) provide relief to the petitioner from

the statute of limitations.       This subsection provides that the

limitations period may run from “the date on which the impediment

to making a motion created by governmental action in violation of

the Constitution or laws of the United States is removed, if the

movant was prevented from making such a motion by such governmental

action.”   The petitioner has shown an impediment to her filing an

appeal from judgment, but she has not shown any impediment to her

filing a § 2255 motion, which is the relevant inquiry.

     The petitioner also invokes equitable tolling.            In order to

prove she is entitled to equitable tolling, she must show (1) that

she has been pursuing her rights diligently, and (2) that some

extraordinary circumstance stood in the way of her filing a § 2255

motion.    Lawrence v. Florida, 549 U.S. 327, 336 (2007).           “Garden

variety claims of excusable neglect” are not sufficient.            Rashidi

v. Am. President Lines, 96 F.3d 124, 128 (5th Cir. 1996).          Instead,

the petitioner must show “rare and exceptional circumstances,”

Davis v. Johnson, 158 F.3d 806, 811 (5th Cir. 1998), such as when


                                   10
 Case 5:05-cr-00006-DCB-FKB       Document 150   Filed 10/28/11     Page 11 of 12



the petitioner is actively misled by the respondent, “or is

prevented in some extraordinary way from asserting [her] rights.”

Coleman v. Johnson, 184 F.3d 398, 402 (5th Cir. 1999).                  Equitable

tolling is appropriate only when, despite all due diligence, the

petitioner is unable to discover essential information bearing on

the existence of her claim.        Pacheco v. Rice, 966 F.2d 904, 906-07

(5th Cir. 1992).        Pierce could have easily learned that no appeal

had been filed on her behalf upon the expiration of the time for

filing an appeal. See Anjulo-Lopez v. United States, 541 F.3d 814,

819 (8th Cir. 2008)(noting that whether an appeal has been filed is

“a matter of public record” and “a duly diligent person could have

unearthed that information anytime after the deadline for filing an

appeal passed”).        Equity will not relieve a petitioner who has sat

upon her rights. Coleman v. Johnson, 184 F.3d 398, 402-03 (5th Cir.

1999).

      Finally, the Court notes that “[m]ere ignorance of the law or

lack of knowledge of filing deadlines does not justify equitable

tolling of AEDPA’s limitation period.”               Rojuas v. United States,

2011 WL 1467008 at *8 (S.D. Fla. March 21, 2011).

      Because the issues in this case have been conclusively decided

on   the   basis   of    the   evidence   in   the    record,     and   since   the

petitioner’s version of the facts has been accepted as true, the

Court finds that an evidentiary hearing is not necessary.

      The Court therefore finds that the petitioner’s motion to


                                       11
 Case 5:05-cr-00006-DCB-FKB   Document 150   Filed 10/28/11   Page 12 of 12



vacate pursuant to 28 U.S.C. § 2255 shall be dismissed as time

barred, and the case closed.     Accordingly,

     IT IS HEREBY ORDERED that the petitioner’s Section 2255 Motion

(docket entries 131 and 132 in criminal no. 5:05-CR-6), and

Supplemental Motion (docket entry 145 in criminal no. 5:05-CR-6)

are DENIED.

     FURTHER ORDERED that the petitioner is not entitled to a

Certificate of Appealability, as set forth in the Final Judgment.

     A final judgment dismissing this case as time barred, in

accordance with Rule 58 of the Federal Rules of Civil Procedure,

shall follow.

     SO ORDERED, this the 28th day of October, 2011.



                                        /s/ David Bramlette
                                        UNITED STATES DISTRICT JUDGE




                                   12
